                       Case 4:15-cr-00181-BRW                  Document 65                Filed 07/28/16        Page 1 of 5

AO 245B (Rev. I 0/15) Judgment in a Criminal Case
                                                                                                                            FILED
                                                                                                                         U.S. DISTRICT COURT
                                                                                                                     EASTERN DISTRICT ARKANSAS
                      Sheet I



                                          UNITED STATES DISTRICT COUR1JAMES
                                                           Eastern District of Arkansas                      By: --+-+-'i-+---t--=o-=E~P-=c:":""L=ER=K
                                                                           )
               UNITED STATES OF AMERICA                                    )
                                   v.                                      )
                        MARKESE DURDEN                                     )
                                                                                     Case Number: 4:15CR00181-01-BRW
                                                                           )
                                                                           )         USM Number: 29271-009
                                                                           )
                                                                           )          Steven Ray Davis
                                                                           )         Defendant's Attorney
THE DEFENDANT:
Ill pleaded guilty to count(s)          Count2

0 pleaded nolo contendere to count(s)
   which was accepted by the court.
Dwas found guilty on count(s)
 after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                         Offense Ended               Count
 21 U.S.C. 841 (a)(1) and           Distribution of Methamphetamine Actual, a Class B Felony                 4/3/2014                     2
 (b )(1 )(B)



       The defendant is sentenced as provided in pages 2 through         __
                                                                          5 _ _ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
0 The defendant has been found not guilty on count(s)
ll!Count(s)       1, 3 and 12                           o is      Ill are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 da)'s of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenaant must notify the court and United States attorney of material c.tianges in economic circumstances.

                                                                          7/28/2016




                                                                                 OfJUdie
                                                                         Signature




                                                                          BILLY ROY WILSON, U.S. District Judge
                                                                         Name and Title of Judge




                                                                         Date
                       Case 4:15-cr-00181-BRW                Document 65          Filed 07/28/16       Page 2 of 5

AO 245B (Rev. 10/15) Judgment in Criminal Case
                       Sheet 2 - Imprisonment
                                                                                                  Judgment - Page _2~- of   5
 DEFENDANT: MARKESE DURDEN
 CASE NUMBER: 4:15CR00181-01-BRW

                                                           IMPRISONMENT
          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
 total term of:
  120 months.




     !?]   The court makes the following recommendations to the Bureau of Prisons:

  The Court recommends the defendant participate in residential substance abuse treatment, mental health counseling with
  emphasis in domestic violence and anger management, and educational and vocational programs during incarceration. The
  Court also recommends the defendant be designated to FCI Memphis, or as close as possible to Blytheville, AR.

     Ill The defendant is remanded to the custody of the United States Marshal.

     D The defendant shall surrender to the United States Marshal for this district:
           D at                                  D a.m.       D p.m.      on

           D as notified by the United States Marshal.

    D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           D before 2 p.m. on
           D as notified by the United States Marshal.
           D as notified by the Probation or Pretrial Services Office.


                                                                 RETURN
I have executed this judgment as follows:




           Defendant delivered on                                                      to

a _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.



                                                                                               UNITED STATES MARSHAL



                                                                         By - - - - - - - - - - - - - - - - - - - - - -
                                                                                            DEPUTY UNITED STATES MARSHAL
                         Case 4:15-cr-00181-BRW                  Document 65            Filed 07/28/16            Page 3 of 5

AO 2458 (Rev. 10/15) Judgment in a Criminal Case
                       Sheet 3 - Supervised Release
                                                                                                             Judgment-Page           of
 DEFENDANT: MARKESE DURDEN
 CASE NUMBER: 4:15CR00181-01-BRW
                                                          SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term of :
 4 years.

         The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
 custody of the Bureau of Prisons.
 The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
 substance. The defendant shall submit to one drug test within 15 days of release from imprisonment ano at least two periodic drug tests
 thereafter, as determined by the court.
 D        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
          future substance abuse. (Check. if applicable.)

          The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
          The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check. if applicable.)

          The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
 D        as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
          works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)

D         The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
        If this judgment imposes a fme or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                         STANDARD CONDITIONS OF SUPERVISION
     1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
    2)     the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
     3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
    4)     the defendant shall support his or her dependents and meet other family responsibilities;
     5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;
    6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
    7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
           controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
     8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
     9)    the defendant shall not associate with any J>ersons engaged in criminal activity and shall not associate with any person convicted of a
           felony, unless granted permission to do so by the probation officer;
  10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
           contraband observeo in plain view of the probation officer;
  11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
  12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
           permission of the court; and
  13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
           record or ~ersona1 history or characteristics and shall permit the probation officer to make such notifications and to confirm the
           defendant s compliance with such notification requirement.
                      Case 4:15-cr-00181-BRW         Document 65         Filed 07/28/16       Page 4 of 5
AO 245B (Rev. 10/15) Judgment in a Criminal Case
        Sheet 3C - Supervised Release
                                                                                           Judgment-Page   _4__ of       5
DEFENDANT: MARKESE DURDEN
CASE NUMBER: 4:15CR00181-01-BRW

                                          SPECIAL CONDITIONS OF SUPERVISION
 1. The defendant will participate, under the guidance and supervision of the probation officer, in a substance abuse
 treatment program which may include testing, outpatient counseling, and residential treatment. Further, the defendant will
 abstain from the use of alcohol throughout the course of treatment.

 2. The will participate in anger management counseling.
                       Case 4:15-cr-00181-BRW                    Document 65           Filed 07/28/16           Page 5 of 5
AO 245B (Rev. 10/15) Judgment in a Criminal Case
         Sheet 5 - Criminal Monetary Penalties
                                                                                                        Judgment - Page    5    of         5
 DEFENDANT: MARKESE DURDEN
 CASE NUMBER: 4:15CR00181-01-BRW
                                                   CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                      Assessment                                          Fine                               Restitution
 TOTALS             $ 100.00                                            $ 0.00                             $ 0.00


 D The determination ofrestitution is deferred until - - - -. An Amended Judgment in a Criminal Case (AO 245C) will be entered
      after such determination.

 D The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

      If the defendant makes a partial payment, each payee shall receive an approximately proportioned paynient, unless specified otherwise in
      the priori!)'. order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
      before the United States is paid.

  Name of Payee                                                             Total Loss*        Restitution Ordered Priority or Percentage




 TOTALS                                                                      $ _ _ _ _ _ _o_.o_o_


 D     Restitution amount ordered pursuant to plea agreement $

 D     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
       to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 D     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

       D the interest requirement is waived for the            D fine     D restitution.
       D the interest requirement for the           D   fine    D restitution is modified as follows:

 * Findings for the total amount oflosses are required under Chapters 109A, 110, l lOA, and 113A of Title 18 for offenses committed on or after
 September 13, 1994, but before April 23, 1996.
